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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

United States of America,

                      Plaintiff,
                                                     ORDER
       v.                                            Criminal No. 04-239(2) ADM/AJB

Sylvester Mickle,

                  Defendant.
______________________________________________________________________________

Sylvester Mickle, pro se.
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       This matter is before the undersigned United States District Judge pursuant to Sylvester

Mickle’s (“Defendant”) Motion to Amend Presentence Investigation Report (“Motion”) [Docket

No. 111]. Defendant asserts the Bureau of Prisons (“BOP”) has denied him entry into the drug

treatment program because Defendant’s Presentence Investigation Report (“PSR”) did not

include sufficient information to show Defendant has a drug problem. Defendant requests the

Court amend his PSR, apparently to help persuade the BOP to admit him into the drug program.

Defendant’s Motion is denied.

       The purpose of the PSR is to assist the Court in sentencing. Because Defendant’s

sentencing hearing took place almost a year ago, there is no value in now amending the PSR.

Further, the BOP has the authority to determine whether a prisoner is a suitable candidate for its

drug treatment program based on information other than a defendant’s PSR. The same

information Defendant asked to be added to his PSR can be submitted to the BOP directly for

their evaluation.
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       Based upon the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Defendant’s Motion to Amend Presentence Investigation Report

[Docket No. 111] is DENIED.


                                                    BY THE COURT:



                                                           s/Ann D. Montgomery
                                                    ANN D. MONTGOMERY
                                                    U.S. DISTRICT JUDGE

Dated: July 24, 2006.




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